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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


RITA KIBBIE,                                        §
                                                    §
           Plaintiff                                §
                                                    §
v.                                                  §                   A-19-CV-00393-SH
                                                    §
HAYES CONSOLIDATED                                  §
INDEPENDENT SCHOOL DISTRICT,                        §
                                                    §
          Defendant                                 §

                                         FINAL JUDGMENT

     Before this Court is the parties’ Joint Stipulation of Dismissal With Prejudice, filed October 1,

2020 (Dkt. 32). Pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)(ii), the parties stipulate

to the dismissal of this case with prejudice.

     Accordingly, the Court renders this Final Judgment pursuant to Federal Rule of Civil Procedure

58. The Court HEREBY ORDERS that the above-styled action is DISMISSED WITH

PREJUDICE and that the parties are to bear their own costs and attorney’s fees.

     The Court FURTHER ORDERS that all court settings are cancelled, any pending motions

are DISMISSED as moot, and that the Clerk of Court CLOSE this case.

     SIGNED October 2, 2020.




                                                        SUSAN HIGHTOWER
                                                        UNITED STATES MAGISTRATE JUDGE
